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                                No. 23-1135

                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE TENTH CIRCUIT


                             DARLENE GRIFFITH,
                                       Plaintiff-Appellant,
                                    v.
 EL PASO COUNTY, COLORADO; BILL ELDER, in his individual and official
capacities; CY GILLESPIE, in his individual capacity; ELIZABETH O’NEAL,
    in his individual capacity; ANDREW MUSTAPICK, in his individual
capacity; DAWNE ELLISS, in her individual capacity; TIFFANY NOE, in her
      individual capacity; BRANDE FORD, in her individual capacity,
                                        Defendants-Appellees.


           On Appeal from the United States District Court
                     for the District of Colorado
 No. 1:21-cv-00387-CMA-NRN, The Honorable Christine M. Arguello


            PLAINTIFF-APPELLANT’S REPLY BRIEF


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                   ORAL ARGUMENT REQUESTED
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                     SUMMARY OF ARGUMENT

     Ms. Griffith’s opening brief explained in detail the errors the

district court made in addressing the many serious claims she raised in

her operative complaint. The United States, as amicus curiae, likewise

weighed in as to several errors made by the district court relating to Ms.

Griffith’s Equal Protection and disability-related claims. The Defendants

largely fail to respond—and have appeared to concede—most of the

issues raised in this appeal. The few arguments they do present are

meritless.

     I. Ms. Griffith plausibly alleged an Equal Protection Claim. First,

notwithstanding this Court’s decision in Brown v. Zavaras, 63 F.3d 967

(10th Cir. 1995), El Paso County’s sex-based housing, clothing, and

grooming product policies are subject to intermediate scrutiny,

regardless of Ms. Griffith’s gender identity, because they reflect sex-

based distinctions. The United States, as amicus curiae, agrees.

Defendants entirely fail to respond to the doctrinal points raised by either

Ms. Griffith or the United States, effectively conceding this argument.

Second, even as to the question of the County’s discrimination of Ms.

Griffith on the basis of her gender identity, Brown is no barrier to her



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claim. Brown did not squarely address the issue of the appropriate level

of scrutiny for such claims, and even if it had it has subsequently been

invalidated by Bostock v. Clayton County, 140 S. Ct. 1731 (2020). Again,

Defendants have no response. This Court should therefore reverse the

district court as to Ms. Griffith’s Equal Protection claim.

     II. Ms. Griffith also plausibly alleged claims related to Defendant

Mustapick’s abusive and invasive strip search. Defendants’ arguments to

the contrary might, perhaps, support a non-abusive search by a female

officer, but simply have no application here—where the cross-gender

search was conducted in a “sickening” and “reprehensible” manner.

A.110, 115. And Ms. Griffith explained that the law prohibiting such

searches was clearly established, to which Defendants do not

meaningfully respond.

     III. Ms. Griffith also plausibly alleged a conditions of confinement

claim relating to her housing placement—where she was subjected to

daily cross-gender searches, sexual harassment, and extreme emotional

distress. Defendants claim that Ms. Griffith did not plausibly allege that

the conditions she faced were not rationally related to a legitimate

governmental purpose or were excessive in relation to that purpose, but



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they are wrong. Moreover, Ms. Griffith adequately alleged personal

participation as to Defendants Elder, Noe, and Ford.

     IV. Ms. Griffith stated disability claims under the Americans with

Disabilities Act and the Rehabilitation Act. The district court erred in

dismissing her claim on the ground that she failed to allege that the

Defendants knew she was disabled within the meaning of the ADA.

Defendant entirely fail to engage with the multiple pages of analysis in

Ms. Griffiths’ opening brief on this question, not to mention the United

States’ detailed refutation of the district court’s conclusion. Again, they

have effectively conceded the issue. To the extent this Court wishes to

reach the issue, Cummings v. Premier Rehab Keller, 142 S. Ct. 1562

(2022), has no bearing on Ms. Griffith’s ADA claim because (1) the ADA

is not a Spending Clause statute, and (2) it only applies to compensatory,

and not nominal, damages. Defendants provide no meaningful analysis

on these issues, either.

     V. The district court did not address Ms. Griffith’s municipal

liability claims because it erroneously concluded that none of her

constitutional claims survived. Rather than spending their time and

effort in their brief responding to the issues that were actually raised by



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the opening brief, Defendants spill much ink trying to convince this Court

to reach—and reject—Ms. Griffith’s municipal liability claims in the first

instance. If this Court is inclined to address the merits of Ms. Griffith’s

municipal liability claim, it should hold that she stated a claim, because

she identified several policies and customs that resulted in the

constitutional violations she alleged, including El Paso County’s policy of

assigning transgender detainees to housing units based solely on their

genitalia, and of allowing male deputies to strip search transgender

women without any supervision.

     VI. Lacking in persuasive arguments on the merits of Ms. Griffith’s

claims, Defendants spend the most time trying to persuade this Court

that her entire appeal is somehow waived because of an alleged failure to

object to the magistrate judge’s report and recommendation with

sufficient specificity. Waiver simply does not apply. In thirty pages, Ms.

Griffith’s Objection identified, and provided legal analysis on, a number

of specific errors made in the magistrate judge’s Recommendation—those

same errors the district court made and she is now pursuing on appeal.

And the district court, for its part, took those objections seriously and

addressed the right issues; it just came out the wrong way. This is a far



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cry from a situation where firm waiver applies: when a party entirely

fails to object, or submits objections along the lines of “I object.” The Court

should see this play for what it is—a desperate attempt to avoid a

reversal on the merits.

      This Court should reverse the district court as to Ms. Griffith’s

Equal Protection, strip search, conditions of confinement, and disability

claims, and vacate and remand for that court to address her municipal

liability claims in the first instance. Should this Court wish to reach her

municipal liability claim in the first instance; it should hold that Ms.

Griffith stated a claim.

                                ARGUMENT

    I. Ms. Griffith Plausibly Alleged An Equal Protection Claim.

      Ms. Griffith’s opening brief explained that, notwithstanding this

Court’s decision in Brown v. Zavaras, 63 F.3d 967 (10th Cir. 1995), El

Paso County’s sex-based housing, clothing, and grooming product policies

are subject to intermediate scrutiny, regardless of her gender identity,

because they reflect sex-based distinctions. OB 21-23.1 The United




1
  This brief uses “OB” to refer to the opening brief in citations, and “AB”
to refer to the answering brief.

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States, as amicus curiae, agrees. Brief for the United States at 9-13

[hereinafter “U.S. Br.”]; see also Brief for the A.C.L.U. at 8; Brief for Legal

Scholars of Sex and Gender at 4-5, 7-9 [hereinafter “Legal Scholars Br.”]

(sex discrimination is no less sex discrimination because it is experienced

by a transgender person). Defendants entirely fail to respond to the

doctrinal points raised by either Ms. Griffith or the United States,

effectively conceding this argument. Their entire Equal Protection

argument hinges on two cases—Supre v. Ricketts, 792 F.2d 958 (10th Cir.

1986), and Brown v. Zavaras, 63 F.3d 967 (10th Cir. 1995).

      Even on the face of Defendants’ description of Supre, AB 17, it is

evident that case has nothing to do with this one. In Supre, this Court

addressed whether a plaintiff was a “prevailing party” for the purpose of

attorney’s fees relating to an Eighth Amendment medical-care claim. 792

F.2d at 962. It was not an Equal Protection case, and Defendants do not

even attempt to explain its relevance here.

      Brown, of course, is relevant to the disposition of this case. That is

because, contrary to the case law described in the opening brief under

which intermediate scrutiny would apply, the district court believed itself

bound by Brown to apply rational basis review. A.101-04. Ms. Griffith



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made several arguments in her opening brief as to why this was

erroneous. First, Ms. Griffith explained that Brown is irrelevant to the

disposition of this case because even if Brown dictated that Ms. Brown

was not a member of a suspect class on the basis of her transgender

status, the challenged policies still trigger heightened scrutiny for the

independent reason that they are sex-based classifications—regardless

of the identity of the plaintiff. OB 24. As noted above, the United States

agrees. U.S. Br. at 9-13. Second, Ms. Griffith argued, Brown does not

control this case because Brown did not actually resolve the level of

scrutiny that applies and therefore does not have stare decisis effect. OB

24-26. Again, the United States agrees. U.S. Br. at 13-15. Third, Ms.

Griffith explained, to the extent Brown was a binding decision about the

level of scrutiny applicable to gender identity claims, it has been

subsequently invalidated by Bostock v. Clayton County, 140 S. Ct. 1731

(2020), and this Court should overrule it. OB 26-29; see also Legal

Scholars Br. at 14-15. And Ms. Griffith explained why the four-factor test

for finding a suspect class is easily met for transgender individuals, as

the district court acknowledged, OB 19-31, and that, when viewed under

the appropriate intermediate level of scrutiny—or even rational basis



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“with bite” review—she stated a plausible Equal Protection claim, OB 31-

33.

        Bafflingly, Defendants do not respond to any of this. See generally

AB 17-18. The only thing approaching an argument on Ms. Griffith’s

Equal Protection claim is one based in policy, not law: that applying

intermediate scrutiny “would stand in stark opposition to well-

established precedent affording deference to the decisions of jail

administrators.” AB 18. But deference is not limitless, and prison and jail

policies that discriminate on the basis of protected classes are subject to

intermediate- or strict-scrutiny like those of any other government actor,

and may be upheld only when they are appropriately tailored. See, e.g.,

Johnson v. California, 543 U.S. 499, 502, 506-07, 512 (2005) (striking

down policy of racially segregating prisoners when they enter a new

facility, based on “asserted rationale . . . that it is necessary to prevent

violence caused by racial gangs,” and collecting prior cases). All told,

Defendants do not—and cannot—defend the application of Brown in this

case, or dispute the district court’s holding that Ms. Griffith stated a

claim under intermediate scrutiny. They have effectively conceded away

this claim.



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  II. Ms. Griffith Plausibly Alleged Claims Relating to Defendant
      Mustapick’s Abusive and Invasive Strip Search.

     Ms. Griffith explained in her opening brief that she stated plausible

violations of the Fourth and Fourteenth Amendments relating to

Defendant Mustapick’s strip search of her in a “sickening” and

“reprehensible” manner. A.110, 115; OB 34-40. She explained that “a

strip search represents a serious intrusion upon personal rights,” Shroff

v. Spellman, 604 F.3d 1179, 1191 (10th Cir. 2020), and that in light of the

added constitutional concerns with cross-gender strip searches, courts—

including this one—have sanctioned them only where necessitated by

emergency, see, e.g., Hayes v. Marriott, 70 F.3d 1144, 1147-48 (10th Cir.

1995) (holding plaintiff stated a plausible claim where he was forced to

submit to a body-cavity search in view of members of the opposite

gender). What’s more, Ms. Griffith noted that even a legitimate search

may violate constitutional rights if conducted in an abusive or

humiliating manner. Bell v. Wolfish, 441 U.S. 520, 560 (1979).

     Defendants, for their part, argue that the search wasn’t bad enough

to trigger the Constitution’s protections. First, they argue the “intrusion

was minor under the circumstances” because it was performed as Ms.

Griffith entered the jail to be housed in general population. AB 20; see


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also AB 21 (“Plaintiff was strip searched during intake into CJC to ensure

the safety and security of the facility.”). That might justify a non-abusive

search by an officer of the same gender as Ms. Griffith, but it has no

bearing on the search Ms. Griffith experienced. Recall that after ordering

Ms. Griffith to remove all of her clothing, Defendant Mustapick

commanded her to bend over and “spread [her] sexy cheeks,” before

threatening that he was “going to go balls deep in that ass” while

grabbing his own penis. A.42. He searched her genitals in an “extremely

aggressive” manner, and then threatened Ms. Griffith to remain silent

about what she just experienced—if she didn’t, he would make sure the

guards brutalized her. Id. Defendants argue that the abusive comments

are irrelevant, AB 21, but the published case they cite, Adkins v.

Rodriquez, 59 F.3d 1034 (10th Cir. 1995), addresses an Eighth

Amendment violation based on verbal conduct without allegations of

touching; here Ms. Griffith’s claim was based on verbal harassment in

the context of a physical search, which is an entirely different type of

claim. In short, Defendants’ scant arguments addressed to Ms. Griffith’s




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Fourth and Fourteenth Amendment claims2 arising from Defendant

Mustapick’s abusive search fail to persuade, and the district court erred

in dismissing them.3

      As to qualified immunity, Ms. Griffith explained in her opening

brief that her right to be free from an abusive, cross-gender strip search

was clearly established and, regardless, prior caselaw was not necessary

in this situation to put Defendants on notice that their conduct was

unconstitutional. OB 41-46. Defendants do not respond to the many on-

point cases Ms. Griffith cites; rather, they argue—only in platitudes and

as to presumably all (?) of her claims—that the district court correctly



2
  Defendants inaccurately state that “Griffith does not clearly explain
what she must plausibly allege to state a viable” Fourteenth Amendment
claim on these facts. AB 22. As the district court noted, and which Ms.
Griffith repeated in her brief, the legal standards under the Fourth and
Fourteenth Amendments are similar. See A.112; OB 34 & n.11. Ms.
Griffith also noted that Eighth Amendment claims are relevant to Ms.
Griffith’s Fourteenth Amendment claims because this Court generally
“appl[lies] an analysis identical to that applied in Eighth Amendment
cases,” which if anything is more favorable to defendants. OB 37 n.12
(quoting Burke v. Regalado, 935 F.3d 960, 991 & n.9 (10th Cir. 2019)).
3
  Defendants do not respond to Ms. Griffith’s argument that the district
court additionally erred in dismissing her claims against Defendants
Elliss and Elder relating to the search, since they enabled and facilitated
Defendant Mustapick’s abusive search. OB 40-41 n.13.



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granted them qualified immunity. AB 28-29. It did not, for the reasons

Ms. Griffith already explained. OB 41-46. For a doctrine based on a close-

reading of the law, Defendants’ surface-level engagement here is telling.

    III. Ms. Griffith Plausibly Alleged A Conditions of Confinement
         Claim Relating to Her Housing Placement.

       As she argued in her opening brief, Ms. Griffith plausibly alleged

that her experience in the all-male housing unit—where she was

subjected to daily cross-gender searches, sexual harassment, and

extreme emotional distress—stated a conditions of confinement claim.

OB 46-52.4 Specifically, she met both elements of such a claim, because

she alleged that (1) she was incarcerated under conditions that posed a

substantial risk of serious harm to her health or safety; and (2) the

conditions were not rationally related to a legitimate governmental




4
 At one point, Ms. Griffith’s brief referred to this claim as brought under
the Eighth Amendment. OB 46. That was a mistake. Ms. Griffith, as a
pretrial detainee, has a conditions of confinement claim that arises under
the Fourteenth Amendment, as reflected in her Complaint, A.53, and
throughout her opening brief. The standard stated and applied in the
brief was correct: “a pre-trial detainee, like Ms. Griffith, must show that
the challenged conditions were not rationally related to a legitimate
governmental objective or were excessive in relation to that purpose.” OB
47 (citing Colbruno, 928 F.3d at 1163); see also AB 23-24 (same).
Additionally, as Defendants acknowledge, Eighth Amendment cases
“provide[] the benchmark” for such claims. AB 23; see also supra n. 2.

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objective or were excessive in relation to that purpose. OB 46-49.

Defendants do not dispute that the first prong is met here. Nor could

they. In addition to the well-known and significant risks associated with

housing transgender women in men’s facilities, A.34-36 (citing national

standards and reports establishing that transgender women are at

heightened risk of victimization in men’s facilities), Ms. Griffith

repeatedly alerted Defendants to her suffering and begged for

accommodation, A.32-33, 37, 39, 44-45.

      Rather, Defendants erroneously claim that Ms. Griffith failed to

sufficiently allege the no-rational-relation prong. AB 24.5 Specifically,

Defendants quote Colbruno for their argument that Ms. Griffith had the

burden of putting forth “objective evidence” on this front. AB 24. But that

language in Colbruno was pulled from a case asking what a plaintiff was

required to prove at trial in order to “establish” such a violation.

Colbruno, 928 F.3d at 1163 (quoting Kingsley v. Hendrickson, 576 U.S.



5
  Defendants also claim, briefly, that waiver applies, AB 24, but it does
not. Ms. Griffith plausibly alleged personal participation, deliberate
indifference, and a constitutional violation in her operative complaint,
A.35, 37-38, 40-50, 53-54; in her opposition to the motion to dismiss,
S.A.57-59, 61-62, 70-76, and in her Objection to the magistrate judge’s
report and recommendation, S.A.137-38 & n. 2, 148-51.

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389, 398 (2015)). Of course, at the motion to dismiss stage a plaintiff isn’t

required to provide “objective evidence” of anything—just plausible

allegations. See Diversey v. Schmidly, 738 F.3d 1196, 1199 (10th Cir.

2013).

     Ms. Griffith has met that standard. OB 48-49. She alleged that

rather than “provid[ing] for the safe and secure function of CJC,” as

Defendants contend, AB 24, El Paso County’s housing policy undermines

safety and security for transgender inmates like Ms. Griffith, A.34-36,

and a policy cannot be “rationally related” to an end that it actively

undermines. Moreover, Ms. Griffith emphasized that she was housed in

a female facility in Colorado, which presumably has penological

objectives similar to El Paso County’s, making clear that the County’s

housing policies were, at a minimum, excessive in relation to its aims.

OB 7, 9. Insofar as Defendants argue to the contrary, discovery will be

telling. For now, Ms. Griffith has made out plausible allegations

sufficient to satisfy this element at the motion to dismiss stage. Colbruno,

928 F.3d at 1163. Consistent with the liberal pleading standards and the

serious risks of housing transgender women in men’s facilities, courts




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have allowed similar claims to go forward. See OB 49 (citing cases at

motion to dismiss phase). This Court should do the same.

      Defendants’ arguments to the contrary—focused on personal

participation—are unavailing. As to Defendant Elder, Defendants offer

nothing of substance. Their “argument” on this question amounts to three

meagre sentences: one sentence asserting there is no underlying

constitutional violation; one sentence stating, without elaboration, “[n]or

has Griffith plausibly alleged the existence of a policy or custom; a causal

link; or that Defendant Elder acted with deliberate indifference”; and a

third sentence stating just that “[t]his Court should uphold the dismissal

of Griffith’s claim against Elder.” AB 26.

      But Ms. Griffith explained at length in her opening brief—which

remains unrebutted by Defendants—that Defendant Elder, as sheriff,

was responsible for the jail’s policies which caused the violation of Ms.

Griffith’s constitutional rights. OB 50; see Colo. Rev. Stat. § 30-10-511.6

And as this Court has recognized in Dodds v. Richardson, 614 F.3d 1185,

1204 (10th Cir. 2010), it is sufficient to allege that Defendant Elder



6
 The existence of the policies are discussed below in the section on
municipal liability. See infra at 22.

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“deliberately enforced or actively maintained the policies in question at

the jail.” OB 50-51. Thus, this Court should reject Defendants’ ipse dixit

contention that Ms. Griffith failed to demonstrate Defendant Elder’s

personal participation in the constitutional violations she alleges.

      Defendants’ attempt to bolster the district court’s holding that she

failed to satisfy the personal participation standard as to Defendants Noe

and Ford fares no better. See AB 26-27; A.108.7 Specifically, Defendants

contend that Ms. Griffith failed to demonstrate that Defendants Noe and

Ford were deliberately indifferent when they placed Ms. Griffith in a

male housing unit and refused to change her placement, respectively. AB

27; but see OB 51-52. But Defendants’ only support for this argument is

an unpublished Eleventh Circuit opinion that is factually and legally

dissimilar to Ms. Griffith’s case. See Green v. Hooks, 798 F. App’x 411

(11th Cir. 2020). In Green, a transgender plaintiff challenged her

placement in general population, and the Eleventh Circuit affirmed the

district court’s grant of summary judgment against her because “the


7
 In light of the caselaw cited by Defendants, AB 26, Ms. Griffith does not
press her appeal regarding the district court’s personal participation
ruling as to Defendant O’Neal. She reserves the right to seek leave to
amend to supplement her allegations as to Defendant O’Neal, when back
in the district court.

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record”—which included statements from the plaintiff herself informing

the defendant that she “was okay”—did “not support such an argument.”

Id. at 416, 423. If this unpublished, out-of-circuit case is at all instructive,

it supports Ms. Griffith, because it shows that housing-related claims by

transgender prisoners routinely survive a motion to dismiss. See also OB

49 (collecting cases). But it says nothing about Ms. Griffith’s allegations

of deliberate indifference on the part of these Defendants in this case,

where Ms. Griffith repeatedly alerted officials to the deleterious effects

of her placement in a male ward.8 Their placement of Ms. Griffith in a

male unit thus constituted deliberate indifference.9




8
  Moreover, the conduct challenged in Green took place in 2012, 798 F.
App’x at 413-19, almost a decade before the misconduct alleged by Ms.
Griffith. During that decade, our cultural understanding of the risks
faced by transgender individuals in prison deepened and the standards
for their care progressed, A.34-35, such that corrections officials were on
notice of the “obvious” risks of improper housing assignments. See
Farmer, 511 U.S. at 842 (1994).
9
  This Court should also reject the district court’s statement that Ms.
Griffith “has not demonstrated that her right to be placed in a female
unit was clearly established, given the binding Tenth Circuit precedent
described above.” A.108. This argument fails for the same reason the
Defendants’ qualified immunity argument fails. See supra at 11-12.

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       In sum, each of Defendants’ attempted arguments with respect to

the plausibility of Ms. Griffith’s conditions of confinement claim fall flat,

and this Court should reject them.

 IV. Ms. Griffith Stated Disability Claims Under the ADA and RA.

       Ms. Griffith alleged claims under the Americans with Disabilities

Act (ADA) and the Rehabilitation Act (RA), which the district court

erroneously dismissed. At the outset, Ms. Griffith explained in her

opening brief that she plausibly alleged a violation of the statutes, OB

52-55, as the district court correctly held, A.117-21, and Defendants do

not argue to the contrary, see AB 30-31. Instead, Defendants parrot the

district court’s conclusion that any allegations that they acted

intentionally fail as a matter of law because it was unclear that Ms.

Griffith’s gender dysphoria was a “disability.” AB 31-34.

       To start, Ms. Griffith was not required to plead and prove

intentional discrimination because it is an affirmative defense. OB 55-

56.10 Defendants’ citation to Ashcroft v. Iqbal, 556 U.S. 662 (2009), is not



10
  This argument is properly presented to this Court, as it is intertwined
with the intentional discrimination arguments Ms. Griffith presented in
both her Response to Defendants’ Motion to Dismiss, S.A.104-05, and in



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on point, because it stands for the uncontroversial proposition that a

plaintiff needs to plead and prove the elements of a (different) cause of

action, id. at 676; it does not speak to the distinct question of whether—

given that intentional discrimination is not an element of the claim, but

a requirement for receiving compensatory damages—a plaintiff needs to

plead it.

      To the extent Ms. Griffith is required to include allegations

regarding intentional discrimination, the district court erred in

concluding she failed to plead as much. OB 56-61. As Ms. Griffith

explained in her opening brief, intentional discrimination does not

require animus; all that it requires in this context is allegations that a

defendant deliberately makes no good faith effort to reasonably

accommodate a plaintiff’s known disability. OB 56-57. Defendants repeat

the district court’s belief that Ms. Griffith needed to show that they knew

she was disabled within the meaning of the ADA, notably without citing

any precedent that would support such a requirement. AB 37-38. And




her Objection to the magistrate’s Report, S.A.160-61; see Dennis v. City
of Philadelphia, 19 F.4th 279, 287-88 (3d Cir. 2021) (noting that parties
may, on appeal, “reframe their argument within the bounds of reason’”
(internal quotations omitted)).

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they entirely fail to engage with the multiple pages of analysis in Ms.

Griffiths’ opening brief (OB 59-61)—not to mention the United States’

detailed refutation of the district court’s conclusion, U.S. Br. at 15-26—

on this point. That they cannot muster a substantive defense of the

district court on its “settled law” requirement for ADA liability speaks

volumes.

     Finally, to the extent this Court wishes to reach the issue,

Cummings v. Premier Rehab Keller, 142 S. Ct. 1562 (2022), has no

bearing on Ms. Griffith’s ADA claim because (1) the ADA is not a

Spending Clause statute, and (2) it only applies to compensatory, and not

nominal, damages. OB 61-64. Defendants provide no analysis on these

issues, but rather cherry-pick a series of unpublished district court

opinions they say agree with them. AB 39-40. But, of course, “[j]udicial

investigation” is not “an exercise in looking over a crowd and picking out

your friends.” Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546,

568 (2005). More is required, and Defendants fail to provide assistance.

     In sum, at a minimum, this Court should hold that the district court

imposed an erroneous “settled law” requirement into the ADA.

Resuscitating her ADA and RA claims will mean that the district court



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will have to address the Cummings issues on remand; it may be most

efficient for this Court to address them now, as they are purely legal

issues and are adequately briefed by Ms. Griffith and amici. See OB 61-

64; Brief for Disability Rights Educ. & Def. Fund et al. at 20-26.

  V. This Court Should Remand to the District Court to Address
     Ms. Griffith’s Municipal Liability Claims In the First
     Instance, But Should It Reach the Issue, She Stated a Monell
     Claim.

     The district court did not address Ms. Griffith’s municipal liability

claims because it erroneously concluded that none of her constitutional

claims survived. OB 64; A.116-17. Rather than spending their time and

effort in their brief responding to the issues that were actually raised by

the opening brief, see, e.g., supra at 8, 11, 15, 19, Defendants spill much

ink trying to convince this Court to reach—and reject—Ms. Griffith’s

municipal liability claims in the first instance, AB 40-45. It should not.

See, e.g., Forth v. Laramie County Sch. Dist. No. 1, 85 F.4th 1044, 1070

(10th Cir. 2023) (reversing and remanding for district court to consider

question as to deliberate indifference because “[w]here an issue has not

been ruled on by the court below, [this Court] generally favor[s] remand

for the district court to examine the issue”).




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     If this Court is inclined to address the merits of Ms. Griffith’s

municipal liability claim, it should hold that she stated a claim. First,

contrary to Defendants’ assertion, AB 41, Ms. Griffith’s Complaint

identifies several policies and customs that resulted in constitutional

violations. Specifically, Ms. Griffith alleged that constitutional violations

arose from two official policies: El Paso County’s “policy of assigning all

detained transgender individuals to housing units based on their

genitalia as the default or sole criterion,” A.53; see also A.27, A.36-37,

A.56-57, and the County’s policy allowing or requiring “male deputies to

[strip] search transgender women without any supervision.” A.55-57;

A.41-43. Ms. Griffith also alleged that constitutional violations arose

from two unofficial practices or customs: the mis-gendering of

transgender detainees, A.47, and the denial of gender-conforming

clothing and cosmetics to transgender detainees, A.48-50. As the

Complaint lays out in detail, these policies led to the violation of Ms.

Griffith’s constitutional rights.

     Moreover, Defendants wrongly contend that Ms. Griffith’s

municipal liability claim cannot succeed on the merits because “[t]he

Complaint does not identify any similarly situated individuals that were



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mistreated in a similar way.’” AB 42 (quoting Carney v. City & Cnty. of

Denver, 534 F.3d 1269, 1274 (10th Cir. 2008)). This Court does not

require that a Complaint alleging a Monell violation identify specific

individuals who were similarly mistreated; rather, it is sufficient for a

complaint to allege, broadly, that similarly situated people were similarly

mistreated. Carney, 534 F.3d at 1274 (“In attempting to prove the

existence of such a ‘continuing, persistent and widespread’ custom,

plaintiffs most commonly offer evidence suggesting that similarly

situated individuals were mistreated by the municipality in a similar

way.”); Gates v. Unified School Dist. No. 449 of Leavenworth County,

Kan., 996 F.2d 1035, 1040 (10th Cir. 1993). The Complaint alleges as

much.

     First, the Complaint alleges that “El Paso County continued to

house Ms. Griffith, and continues to house other transgender women in

its custody, in male units within the El Paso County Jail.” A.37 (emphasis

added). The Complaint further alleges that “[t]ansgender women in El

Paso County custody have routinely been subjected to searches, including

visual body-cavity searches, by male staff.” A.41 (emphasis added). And

the Complaint alleges that “El Paso County refuses to recognize



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transgender women in its custody as the women that they are. Instead,

El Paso County officials routinely refer to these women, including Ms.

Griffith, using the male names they were assigned at birth.” A.46

(emphasis added). The Complaint argues that such treatment results in

widespread harm, explaining that “El Paso County is routinely

discriminating against these [transgender] women, including Ms.

Griffith, based on their sex, transgender status and/or disability and

exposing them to harassment, rape, sexual assault, and other anti-

transgender violence, or a heightened risk thereof.” A.40 (emphasis

added). Thus, the Complaint sufficiently alleges that the County’s

unconstitutional    policies   and   customs     are    causing      widespread

mistreatment among detainees situated similarly to Ms. Griffith.

  VI. Defendants’ Waiver Arguments Are Meritless.

     Lacking in good arguments on the merits and in an apparent Hail

Mary gambit to elude appellate review of the district court’s decision, the

Defendants argue that the firm waiver rule precludes Ms. Griffith’s entire

appeal. AB at 1, 14-16. This is incorrect for several different reasons. At

the outset, Defendants claim that the district court “ruled that the firm

waiver rule applies,” AB 14, but it did no such thing. Had it done so, the



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district court would not have gone on to adjudicate Ms. Griffith’s claims,

which, of course, it did.

       At any rate, waiver does not apply here. In thirty pages, Ms.

Griffith’s Objection identified a number of specific errors made in the

magistrate judge’s Recommendation. S.A.132-62. These errors included,

among others: “concluding that Brown v. Zavaras controls this case,”

S.A.143, and that Defendant Mustapick’s cross-gender visual body-cavity

search of Ms. Griffith did not violate her constitutional rights, S.A.149.11

For each of these errors, Ms. Griffith channeled evidence and legal

authorities that cast doubt upon the magistrate judge’s factual and legal

conclusions. See, e.g., S.A.137; S.A.133-34. In so doing, Ms. Griffith easily

“enable[d] the district judge to focus attention on those issues—factual

and legal—that are at the heart of the dispute.” Thomas v. Arn, 474 U.S.

140, 147 (1985). And if the district court was overwhelmed by the

quantity of points raised in Ms. Griffith’s objections, A.140, that can be

chalked up to the breadth of injustices Ms. Griffith faced at the jail—


11
    Additional errors alleged relate to the magistrate judge’s
recommendations regarding personal participation, S.A.137, Ms.
Griffith’s conditions of confinement claim, S.A.148, her disability claims,
S.A.160, and the magistrate’s conclusion “that Defendants’ actions
satisfy rational basis review,” S.A.146.

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which resulted in a corresponding number of issues presented in Ms.

Griffith’s suit—and the number of missteps in the magistrate judge’s

opinion. To apply the firm waiver rule here and punish Ms. Griffith for

explaining the (many) ways the magistrate judge erred in its

recommendation would be counterintuitive and supremely unfair.12

       To hold that Ms. Griffith has waived her appeal under these

circumstances would also constitute a dramatic departure from this

Court’s precedent. First, this Court has typically applied the firm waiver

rule’s specificity requirement only to bar particular issues that were not

objected to below—not to bar an appeal writ large, as Defendants seek

here. See, e.g., Soliz v. Chater, 82 F.3d 373, 375-76 (10th Cir. 1996);

Sealock v. Colorado, 218 F.3d 1205, 1209 (10th Cir. 2000); Smith v.

Colvin, 625 F. App’x. 896, 901 (10th Cir. 2015) (unpublished); Holliday v.

Dept. of Health and Human Servs., 188 F.3d 518 (1999) (unpublished).


12
   Defendants ask this Court to penalize Ms. Griffith because she
“recycled” arguments she had previously presented to the district court.
AB 2. But they cite no caselaw for the proposition that a litigant cannot
press arguments to the district court that have been (erroneously)
rejected by the magistrate judge. And for good reason—such a rule would
make no sense, since the entire point of the district court de novo review
of a magistrate judge’s report and recommendation is to consider the
issues presented and catch errors in the magistrate judge’s analysis. See
generally Federal Rule of Civil Procedure 72(b).

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      And when this Court has applied the waiver rule to bar a litigant

from seeking any appellate review of a particular issue, it has done so

only in response to exceptionally cursory objections—comprised of just a

few sentences—that fail to engage in any meaningful way with the

issues. See, e.g., United States v. One Parcel of Real Property, 73 F.3d

1057, 1060 (10th Cir. 1996) (applying firm waiver rule where objection

“consisted of only two sentences”); Zumwalt v. Astrue, 220 F. App’x. 770,

777-78 (10th Cir. 2007) (holding that a “one-sentence objection” to a

conclusion made by the magistrate, embedded in a two paragraph

Objection, was not sufficiently specific to preserve the right to appeal).

Indeed, this Court has reserved the firm waiver rule for objections that

essentially “stat[e] only ‘I object.’” see One Parcel, 73 F.3d at 1060

(quoting Lockert v. Faulkner, 843 F.2d 1015, 1019 (7th Cir. 1988)). That

is a far cry from this case.

      Even if Ms. Griffith’s Objection was not sufficiently specific (and it

was), this Court should still reach the issues raised in this appeal. See

Moore v. United States, 950 F.2d 656, 659 (10th Cir. 1991) (“The waiver

rule as a procedural bar need not be applied when the interests of justice

so dictate.”). First, the district court has already done the work of



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reviewing the entirety of the magistrate judge’s opinion, so the main

purpose of the firm waiver rule—that is, to ensure that courts of appeals

need not “consider claims that were never reviewed by the district

court”—does not apply. Thomas, 474 U.S. at 147-48. Even if, as

Defendants point out, the district court’s de novo review does not require

the Court to address the issues, Vega v. Suthers, 195 F.3d 573, 580 (10th

Cir. 1999), it does weigh against the rule’s application, see Palmer v.

Salazar, 324 F. App’x. 729, 732 n. 1 (10th Cir. 2009) (“[T]he purposes of

the firm waiver rule are outweighed by our institutional interests in

resolving on the merits of the dispute before us.”). “So too does ‘the

importance of the issues’ raised by Ms. Griffith, Casanova v. Ulibarri,

595 F.3d 1120, 1123 (10th Cir. 2010), as reflected in the many amici

briefs supporting her—including that of the United States.13 In sum,

Defendants’ grasping attempt to evade the merits here is in vain.



13
  As documented above, numerous errors in the district court’s opinion
also amount to plain error and are therefore correctable even if Ms.
Griffith had failed to object. See, e.g., Diestel v. Hines, 506 F.3d 1249, n.
3 (10th Cir. 2007) (noting plain error exception to firm waiver rule);
United States v. Trujillo-Terrazas, 405 F.3d 814, 818 (10th Cir. 2005)
(applying same). And contrary to Defendants’ argument, AB 16-17, since
the district court did not apply the firm waiver rule there was no prior
opportunity for Ms. Griffith to argue for plain error’s application.

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                              CONCLUSION

     For these reasons, this Court should reverse the district court’s

order dismissing Ms. Griffith’s complaint and remand for further

proceedings.



Dated: December 11, 2023                Respectfully submitted,

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     I hereby certify that:

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32(a)(7)(B) of the Federal Rules of Appellate Procedure and Circuit Rule

32(b) because it contains 5,937 words, excluding the parts of the brief

exempted by Rule 32(f) of the Federal Rules of Appellate Procedure.

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     I hereby certify that on December 11, 2023, I electronically filed the

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it has been served on all counsel of record through the court’s electronic

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Dated: December 11, 2023                               /s/ Devi M. Rao
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I hereby certify that with respect to the foregoing:

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                                                       Devi M. Rao
